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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


MIKO PELED, et al.,

                      Plaintiffs,             Docket No: 1:17-cv-00260 (RBW)

            -against-                         Hon. Reggie B. Walton

BENJAMIN NETANYAHU, et al.,                   [Oral Argument Requested]

                      Defendants.




              AMENDED MEMORANDUM OF LAW OF DEFENDANT
               KUSHNER FAMILY FOUNDATION IN SUPPORT OF
             ITS MOTION TO DISMISS THE AMENDED COMPLAINT




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                                PRELIMINARY STATEMENT

       Plaintiffs in this case are several U.S. citizens that reside in the United States, and a

number of Palestinians who live in the Gaza Strip and the West Bank, areas that Israel has

controlled since the 1967 “Six Day War.” The Amended Complaint – written essentially as a

press release or political manifesto – when stripped of all its polemic alleges a conspiracy that

stretches from the United States to Israel and then to the settlements of the West Bank, and

involves hundreds of American NGOs, including Defendant Kushner Family Foundation

(“KFF”), and a multitude of Israeli NGOs, as well as both Israeli and United States governmental

entities and persons.    The alleged purpose of this conspiracy is to fund the expansion of

settlements in the West Bank. Specifically, Plaintiffs allege that KFF, by raising funds that they

then allegedly transferred to Israeli groups that funded the IDF's (Israel's armed forces) activity

in the West Bank and the Gaza Strip, should be held liable for violations of the Alien Tort

Statute (“ATS”) and the Antiterrorism Act (“ATA”) in connection with the conflict over

settlements in the West Bank.

       Plaintiffs’ theory is untenable, and their claims are non-justiciable and unsupported by

fact or law. First, and foremost, this Court should refuse to hear these claims based on the act of

state and political question doctrines. In fact, this Court has already done so, holding that:

       It is hard to conceive of an issue more quintessentially political in nature than the
       ongoing Israeli–Palestinian conflict. Plaintiffs would have this Court adjudicate
       the rights and liabilities of the Palestinian and Israeli people, making
       determinations on such issues as to whom the land in the West Bank actually
       belongs. Plaintiffs ask this Court to declare that Israel’s self-defense policies are
       tantamount to terrorism . . . .The Court can do none of this. . . . [T]he character of
       those claims is, at its core, the same: peculiarly volatile, undeniably political, and
       ultimately nonjusticiable. A ruling on any of these issues would draw the Court
       into the foreign affairs of the United States, thereby interfering with the sole
       province of the Executive Branch. Our government’s foreign relations are
       ‘committed by the Constitution to the Executive and Legislative—’the
       political’—Departments of the Government, and the propriety of what may be


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       done in the exercise of this political power is not subject to judicial inquiry or
       decision.

Doe I v. State of Israel, 400 F. Supp. 2d 86, 111–12 (D.D.C. 2005).

       Plaintiffs’ claims here raise identical concerns. Plaintiffs’ claims would impose liability

on a U.S. NGO for donating money to Israeli NGOs, which money is, allegedly, then provided,

either directly or through Israeli government intermediaries, to the Israeli Defense Force (the

“IDF”), which then allegedly uses that money to, inter alia, buy weapons and train militias,

which armed militias then allegedly promote the expansion of settlement of the West Bank. This

theory of liability must be rejected because it is at complete loggerheads with the act of state

doctrine, which precludes courts in this country from judging the validity of a foreign

sovereign’s official acts. Moreover, Plaintiffs' claims attack the policy of the executive branch,

which has approved of billions of dollars a year in appropriations to Israel for arms purchases

and other military aid. Thus, Plaintiffs are seeking a remedy for alleged economic activity that

the executive branch has itself conducted and promoted, and are asking this Court to second-

guess the foreign policy decisions of the executive branch. Whether or not, and in what

manner, to provide aid to Israel is one of those “political decisions that are by their nature

committed to the political branches to the exclusion of the judiciary.” Schneider v. Kissinger,

412 F.3d 190, 194 (D.C. Cir. 2005) (quoting Antolok v. United States, 873 F.2d 369, 379 (D.C.

Cir. 1989)). And any finding that the alleged activity of the United States NGOs renders them

complicit in war crimes or terrorist activity – findings that would be required to provide relief to

these Plaintiffs in this case – would be a finding that the United States government has been and

is complicit and war crimes and terrorist activity.     For obvious reasons, the case implicates

sensitive issues of foreign policy and the claims should be dismissed on these bases.




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       The claims must also be dismissed on the merits. The Amended Complaint, despite over

a hundred plus pages of shotgun argument, utterly fails to describe how the facts as pled state a

claim under any of statutory provisions of the ATA or the ATS. The Amended Complaint

alleges injuries that fall into two categories: (1) economic injuries attributable to alleged

misappropriation of land in the West Bank (i.e., lost property value), and (2) personal injuries

attributable to the conflict between Israelis and Palestinians in the West Bank. The Amended

Complaint makes voluminous allegations regarding the IDF and the Israeli government and their

activity in connection with the West Bank.          The Amended Complaint makes conclusory

allegations that United States NGOs launder money to fund that conflict. But, the only non-

conclusory allegation that the Amended Complaint makes regarding KFF is that it has donated

money to Israeli NGOs.

       Given this paucity of factual support for its broad claims as to KFF’s complicity in

purported war crimes, both the ATA and ATS claims must be dismissed. First, with regard to

the ATA claim, the Amended Complaint does not come close to plausibly alleging that any of

the specific injuries complained of by any individual Plaintiff were proximately caused by KFF,

as is required by the ATA. Lawsuits like this one – where a corporation provides some service

or money to some other entity that is itself connected in some way to a conflict between two

ethnic or national groups, and then a member of one of those groups brings suit in federal court

naming the corporation as a defendant – are not new. Many civil ATA claims have been brought

against international banks relying on the same suspect chain of unsupported inferences as is laid

out in this Amended Complaint. In these prior ATA cases based on allegations of an indirect

causal connection between a bank’s transactions and a terrorist act – a similar set of allegations

to the attenuated chain of causation alleged here – courts have uniformly dismissed the ATA



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claims for failure to state a claim as a matter of law. The same result should follow here.

Second, the ATA claim must be dismissed on the independent basis that the conspiracy and

aiding and abetting theories of secondary liability on which the Amended Complaint relies, are

not cognizable under the ATA.

       Similarly, with regard to the ATS claim, the Amended Complaint does not come close to

plausibly alleging that KFF knowingly aided and abetted war crimes that were allegedly

committed by the IDF, as would be required for a finding of liability under the ATS. As such,

the claim must be dismissed. The ATS claim must also be dismissed because the causes of

action do not sufficiently “touch and concern” the United States and, thus, under the Supreme

Court’s holding in Kiobel, this Court does not have jurisdiction under the ATS over these claims.

And, the ATS claims are barred because there is no specific, universal and obligatory norm of

international law that imposes liability on a corporate entity, such as KFF, for the alleged

conduct set forth in the Amended Complaint.

       For these reasons, as well as those set forth below, this Court should dismiss the

Amended Complaint in its entirety.

                THE ALLEGATIONS OF THE AMENDED COMPLAINT

       The Amended Complaint – over a hundred pages long, and spanning decades – does not

make many allegations specifically about KFF. Boiled down to its essence, it alleges that KFF

solicited funds from American donors, and then transferred those funds to Israeli groups that

then funneled those funds to the IDF, which then used those funds to promote settlement

expansion. The alleged torts that underlie Plaintiffs’ claims (the theory goes) were part and

parcel of that settlement expansion, and thus KFF is secondarily liable for their commission.

Thus, it is alleged that KFF’s donations are part of a money-laundering scheme that supports acts

of war and war crimes.

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       There is not one supported, non-conclusory allegation to support any of this. Indeed, it is

telling how many times Plaintiffs allege that KFF “had to know” that their charitable collections

and donations were being used for purposes that were allegedly criminal or terroristic or tortious

in nature – which terms by their very nature are both political and conclusory in this context.

Plaintiffs offer only their own say-so and their own political agenda on this point, because they

have no other facts at their disposal. At bottom, the Amended Complaint lacks any well-pled

allegations sufficient to support the conclusion that KFF had knowledge that its donations were

being used to any illegal end; that, in fact, any illegal end was pursued; or that KFF’s donations

proximately caused any of Plaintiffs’ alleged injuries. There are simply no well-pled facts that

give rise to a legally cognizable claim under any of Plaintiffs’ theories. For the reasons above

and described more fully below, the Amended Complaint must be dismissed.

                                     LEGAL STANDARDS

       To survive a motion to dismiss, a “complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see

also In re Interbank Funding Corp. Sec. Litig., 629 F.3d 213, 218 (D.C. Cir. 2010). Iqbal’s

plausibility standard requires more than a “sheer possibility” that a defendant is liable. Iqbal,

556 U.S. at 678. Instead, to survive a motion to dismiss, the Amended Complaint must set forth

“factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678.

       In applying Iqbal, this Court employs a “‘two-pronged approach,’ under which [it] first

identifies the factual allegations that are entitled to an assumption of truth and then determines

‘whether they plausibly give rise to an entitlement to relief.’” Al-Aulaqi v. Obama, 727 F. Supp.

2d 1, 14 (D.D.C. 2010) (quoting Iqbal, 556 U.S. at 679). Under the first prong, “labels and

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conclusions,” and “legal conclusion[s] couched as . . . factual allegation[s],” and “naked

assertions devoid of further factual enhancement,” all must be disregarded. Sievarding v. U.S.

Dep’t of Justice, 693 F. Supp. 2d 93, 99-100 (D.D.C. 2010) (internal quotations omitted).

       Under the second prong, assessing the plausibility of a claim is a “context-specific task

that requires the reviewing court to draw on its judicial experience and common sense.”

Blackwell v. SecTek, Inc., 61 F. Supp. 3d 149, 155 (D.D.C. 2014) (quoting Iqbal, 556 U.S. at

679). Courts “need not accept inferences drawn by Plaintiffs” if they are unsupported by the

facts in the complaint. Sieverding v. U.S. Dep't of Justice, 693 F. Supp. 2d 93, 100 (D.D.C.

2010), aff'd, No. 13-5060, 2013 WL 6801184 (D.C. Cir. Dec. 11, 2013) (internal quotations

omitted).

                               STATUTORY BACKGROUND

       A.     THE ANTI-TERRORISM ACT

       The ATA is largely comprised of criminal prohibitions relating to terrorism, but Section

2333(a) of the ATA, which the Amended Complaint invokes, creates a civil cause of action for

U.S. nationals “injured . . . by reason of an act of international terrorism.” As relevant here,

Section 2333(a) requires that the Amended Complaint properly plead several indispensable

elements.

       First, each Plaintiff must be a U.S. citizen. 18 U.S.C. § 2333(a).

       Second, Plaintiffs must plausibly allege that KFF provided material support and resources

knowing that such support and resources would be used in preparation for, or to carry out,

terrorist acts in violation of U.S. criminal law, 18 U.S.C. § 2339A, or that KFF provided or

collected funds with the intention or knowledge that such funds would be used for such terrorist

acts, 18 U.S.C. § 2339C; see also 18 U.S.C. § 2333(a).



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       Third, the Amended Complaint must plausibly allege that Plaintiffs were injured “by

reason of” KFF’s actions. This element requires plausible, non-conclusory allegations that

KFF’s actions proximately caused Plaintiffs’ alleged injuries. See 18 U.S.C. § 2333(a); Wultz v.

Islamic Republic of Iran, 755 F. Supp. 2d 1, 22 (D.D.C. 2010). As the Supreme Court has

confirmed, proximate cause requires “some direct relation between the injury asserted and the

injurious conduct alleged.” Hemi Grp. v. City of New York, 559 U.S. 1, 9 (2010) (quoting

Holmes v. Secs. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992)); Anza v. Ideal Steel Supply Corp.,

547 U.S. 451, 461 (2006) (“[T]he central question [with respect to proximate cause] . . . is

whether the alleged violation led directly to the plaintiff’s injuries.”). As demonstrated, the

Amended Complaint’s failure to make plausible factual allegations that satisfy the element of

proximate causation requires dismissal.

       B.      THE ALIEN TORT STATUTE

       To assert a private cause of action under the ATS, a plaintiff must plead that: (1) the

plaintiff is an alien; (2) the claimed damages stem from a tort; and (3) a defendant committed the

tort in violation of the law of nations or a treaty of the United States. 28 U.S.C. § 1350.

       Plaintiffs here claim that KFF is liable under the ATS for aiding and abetting violations

of the law of nations. “[A]iding and abetting liability [ ] under the ATS [ ] involves . . . a

‘knowledge’ mens rea and a showing for actus reus of acts that have a substantial effect in

bringing about the violation.” Doe v. Exxon Mobil Corp., 654 F.3d 11, 39 (D.C. Cir. 2011),

vacated on other grounds, 527 F. App’x 7 (D.C. Cir. 2013). Thus, the claim that KFF is

secondarily liable under the ATS requires: (1) a well-pled allegation of a primary violation of the

law of nations; and (2) that the Amended Complaint plead a secondary violation of the law of

nations, by pleading the requirements for aiding and abetting liability. The Amended Complaint

fails to meet these requirements because it contains no well-pled allegations supporting a

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plausible inference that KFF possessed the requisite scienter or that any donations by KFF had a

substantial effect in bringing about the alleged violations.

        Additionally, the Supreme Court in Kiobel held that the presumption against

extraterritoriality applies to claims brought under the ATS, and that it is only rebuttable where

“claims touch and concern the territory of the United States . . . with sufficient force to displace

the presumption against extraterritorial application” of the ATS.         Kiobel v. Royal Dutch

Petroleum Co., 133 S. Ct. 1659, 1669 (2013).

        As described below, the claims here fail this test, and for this independent reason, the

claims must be dismissed.

                                            ARGUMENT

I.      THE COURT LACKS SUBJECT MATTER JURISDICTION BECAUSE THE
        CLAIMS ARE NON-JUSTICIABLE PURSUANT TO THE POLITICAL
        QUESTION DOCTRINE AND THE ACT OF STATE DOCTRINE

        Federal courts are “courts of limited jurisdiction.” Gunn v. Minton, 568 U.S. 251, 256

(2013). They possess “only that power authorized by the Constitution and statute.” Id. “It is to

be presumed that a cause lies outside this limited jurisdiction, and the burden of establishing the

contrary rests upon the party asserting jurisdiction.” Reedy v. Obama, No. CV 14-2215 (ABJ),

2015 WL 120160, at *2 (D.D.C. Jan. 7, 2015) (internal citations omitted). Because this case

implicates sensitive foreign policy prerogatives of the executive, it must be dismissed based on

the political question doctrine and the act of state doctrine.

        A.      The Act of State Doctrine Bars This Action

        This action should be dismissed under the act of state doctrine. The act of state doctrine

precludes United States courts from judging the validity of a foreign sovereign’s official acts.

W.S. Kirkpatrick & Co. v. Envtl. Tectonics Corp., 493 U.S. 400, 405 (1990). The act of state

doctrine is based upon the need to respect the separation of powers. Banco Nacional de Cuba v.

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Sabbatino, 376 U.S. 398, 423 (1964). A claim is barred by the act of state doctrine if it (1)

involves an official act of a foreign sovereign; (2) is performed within that sovereign’s own

territory; and (3) it seeks relief that would require the court to sit in judgment on the sovereign’s

official acts. Kirkpatrick, 493 U.S. at 405.

       Because “[t]he actions challenged by Plaintiffs are classic acts of state,” the claims must

be dismissed. Doe I v. State of Israel, 400 F. Supp. 2d 86, 113 (D.D.C. 2005). Plaintiffs claim

that the Israeli government has adopted an official policy that violates international law in

dealing with Palestinians. See Roe v. Unocal, 70 F. Supp. 2d 1073, 1079 (9th Cir. 1999)

(“Military orders are official acts of the sovereign.”). Any determination in favor of Plaintiffs

here would be a direct attack on Israel’s official policies and their governance of their own

territory. Sound precedent precludes such a holding, as “the federal courts have long recognized

that the exploitation of natural resources and land within a nation’s own borders is, by legal

definition, an act of state. Even if, as Plaintiffs allege, the Israeli defendants have taken land or

possessions for the use of Israel and its people, such actions are only possible by virtue of the

fact that the Israeli defendants are vested with the powers and resources of the Israeli

government.”     Doe I v. State of Israel, 400 F. Supp. 2d 86, 114 (D.D.C. 2005) (quoting

Sabbatino, 376, U.S. at 424-25).

       Furthermore, “[t]o permit the validity of the acts of [Israel] to be reexamined and perhaps

condemned by the courts of [the United States] would very certainly imperil the amicable

relations between [those] governments and vex the peace of nations.” Doe I v. State of Israel,

400 F. Supp. 2d 86, 114 (D.D.C. 2005) (brackets in original) (citing Sabbatino, 376 U.S. at 415,

84 S.Ct. 923).    And, any holding in favor of Plaintiffs’ claims here would be completely




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inconsistent with the executive’s position on arms sales, and such a decision would threaten to

undermine the United States/Israel relationship.

         When deciding whether an action is barred by the act of state doctrine, courts also

consider whether the foreign state was acting in its’ public’s interest. Liu v. Republic of China,

892 F.2d 1419, 1432 (9th Cir. 1989). Whatever one thinks of thinks of the ongoing conflict in

the West Bank, it is beyond dispute that the Israeli government’s policies are undertaken for

military and security purposes intended to redound to the benefit of its people. See Saudi Arabia

v. Nelson, 507 U.S. 349, 361 (1993) (whether or not the police power is abused, it is peculiarly

sovereign in nature).

         In sum, the act of state doctrine bars Plaintiffs’ claims.

         B.       The Political Question Doctrine Bars This Action1

         Additionally, this action is barred by the political question doctrine.                      The political

question doctrine “excludes from judicial review those controversies which revolve around

policy choices and value determinations constitutionally committed for resolution” by the

executive and legislative branches. Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478 U.S. 221,

230 (1986). Thus, the doctrine makes nonjusticiable those “political decisions that are by their

nature committed to the political branches to the exclusion of the judiciary.” Schneider v.

Kissinger, 412 F.3d 190, 194 (D.C. Cir. 2005) (quoting Antolok v. United States, 873 F.2d 369,

379 (D.C. Cir. 1989)). Two considerations guide a court’s testing for nonjusticiable political

questions: (i) “the appropriateness under our system of government of attributing finality to the

action of the political departments;” and (ii) “the lack of satisfactory criteria for a judicial


1
  The Supreme Court has held that disputes involving political questions lie outside of the Article III jurisdiction of
federal courts. See Schlesinger v. Reservists Comm. to Stop the War, 418 U.S. 208, 215 (1974) (“[T]he concept of
justiciability, which expresses the jurisdictional limitations imposed upon federal courts by the ‘case or controversy’
requirement of Art. III, embodies ... the political question doctrine [ ].”).


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determination.” Baker v. Carr, 369 U.S. 186, 210 (1962) (citing Coleman v. Miller, 307 U.S.

433 (1939)).

        Based on those considerations, the Supreme Court in Baker identified “six independent

tests for the existence of a political question”:

        [1] a textually demonstrable constitutional commitment of the issue to a
        coordinate political department; or [2] a lack of judicially discoverable and
        manageable standards for resolving it; or [3] the impossibility of deciding without
        an initial policy determination of a kind clearly for nonjudicial discretion; or [4]
        the impossibility of a court’s undertaking independent resolution without
        expressing lack of the respect due coordinate branches of government; or [5] an
        unusual need for unquestioning adherence to a political decision already made; or
        [6] the potentiality of embarrassment from multifarious pronouncements by
        various departments on one question.

Vieth v. Jubelirer, 541 U.S. 267, 277 (2004) (quoting Baker, 369 U.S. at 217) (quotation marks

removed). Under the Baker analysis, “[t]o find a political question . . . [a court] need only

conclude that one factor is present, not all.” Schneider, 412 F.3d at 194.

        An analysis of the Baker factors and relevant case law demonstrate that this case is

violative of those circumscribed bounds. This Court has already held that nearly identical claims

implicate multiple Baker factors and must be dismissed. In Doe I v. State of Israel, Plaintiffs

brought claims against United States and Israeli officials and the IDF, and against a religious

corporation located in New Jersey and organized under the laws of New Jersey. 400 F. Supp. 2d

86, 112 (D.D.C. 2005). The complaint in Doe I, like the Amended Complaint here, “broadly

alleg[ed] that Plaintiffs, or their loved ones, have been personally and financially injured by the

actions of the Israeli defendants—and those acting under their command or policies—regarding

settlement activities in the West Bank.” Doe I, 400 F. Supp. 2d at 97. With regard to the

religious corporation defendants specifically, the Court noted that the Plaintiffs’

        claims rest on Plaintiffs’ assertion that the [corporate defendants] actively
        solicited financial contributions that were applied to purchase various types of
        protective gear that was, in turn, used in the West Bank by Israeli settlers.

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        Plaintiffs allege that the settlement activities have caused them to suffer physical,
        emotional, or financial injury because: (1) the financial interest or personal
        property was located in the West Bank; (2) the Plaintiffs themselves were located
        in the West Bank; or (3) the actions taken by the settlers in the West Bank harmed
        a close relative located there, and upon learning of this harm, a plaintiff suffered
        injury in the United States.

Doe I, 400 F. Supp. 2d at 98–99. The similarity of the allegations in Doe to those before this

Court cannot be overstated.

        In Doe I, this Court dismissed Plaintiffs’ claims because this Court determined it could

not hold that Plaintiffs had stated a claim

        unless the Court implicitly determines that the Israeli settlement activities are
        illegal or tortious. That, as discussed above, is a foreign relations determination to
        be made by the Executive or Legislative Branches, and the Court would usurp the
        roles of those coordinate branches if it were to intrude. Such a conclusion would
        also implicitly condemn American foreign policy by suggesting that the support
        of Israel is wrongful. Conclusions like these present a potential for discord
        between the branches that further demonstrates the impropriety of a judicial
        decision on these quintessential political issues.

Doe I, 400 F. Supp. 2d at 112.

        This Court’s opinion in Mahorner v. Bush is similarly instructive. 224 F. Supp. 2d 48

(D.D.C. 2002), aff’d, No. 02-5335, 2003 WL 349713 (D.C. Cir. Feb. 12, 2003). In Mahorner,

the plaintiff sought a declaratory judgment that the appropriation of funds to Israel by President

Bush and defendant Secretary of the Treasury Paul H. O’Neill violated the Constitution’s

Establishment Clause. Id., 224 F. Supp. at 50. The Court observed that “among the areas which

the courts have traditionally deemed to involve political questions is the conduct of foreign

relations, which ‘is committed by the Constitution to the executive and legislative ‘the political’

departments of the government[.]’” Id., 224 F. Supp. at 53. The Court then found that the

Plaintiff’s

        challenge to the constitutionality of the Congressional Acts in question is a
        challenge to the power of the President and Congress to conduct the foreign
        affairs of the United States. Both the Congress and the President have determined

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       that military and economic assistance to the State of Israel is necessary ... [and] a
       determination of whether foreign aid to Israel is necessary ... is a ‘question
       uniquely demand[ing] [of a] single-voiced statement of the Government’s
       views,’ and a decision ‘of a kind for which the Judiciary has neither aptitude,
       facilities nor responsibility ...

Id. (quoting Dickson v. Ford, 521 F.2d 234 (5th Cir. 1975)) (emphasis added); see also Corrie v.

Caterpillar Inc., 503 F.3d 974 (9th Cir. 2007) ("[a]llowing this action to proceed would

necessarily require the judicial branch of our government to question the political branches’

decision to grant extensive military aid to Israel. It is difficult to see how we could impose

liability on Caterpillar without at least implicitly deciding the propriety of the United States’

decision to pay for the bulldozers which allegedly killed the Plaintiffs’ family members").

       Finally, “Plaintiffs’ action also runs head-on into the [third], fourth, fifth, and sixth Baker

tests because whether to support Israel with military aid is not only a decision committed to the

political branches, but a decision those branches have already made.” Id.; see also Alperin v.

Vatican Bank, 410 F.3d 532, 544 (9th Cir. 2005) (“[T]hese tests are more discrete in theory than

in practice, with the analyses often collapsing into one another.”).

       As the cases above demonstrate, courts in this district and elsewhere have wisely steered

clear of adjudicating such disputes. Those decisions are based on sound precedent and policy.

Plaintiffs’ lawsuit, which essentially asks this Court to declare that the United States' and Israel’s

governments are at fault in the commission of war crimes, seeks to transfer the political

branches’ foreign policy responsibility to this Court. The political question doctrine precludes

that result, and Plaintiffs’ claims should therefore be dismissed. Plaintiffs’ claims would impose

liability on a United States NGO for donating money to Israeli NGOs, which allegedly then fund

the IDF, which itself, allegedly, then takes that money and uses it to buy weapons and train

troops and uses those weapons and troops to expand the settlement of the West Bank. But the

policy choices of the executive branch – which has not only not prohibited direct sales of arms to

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Israel despite the Israeli government’s alleged conduct, but has approved of billions of dollars of

appropriations for Israeli arms purchases and other military aid 2 – undeniably support aid to

Israel.

          By attacking KFF’s donations to Israeli NGOs in this lawsuit (which the Israeli NGOs

then allegedly use to support the IDF and settlement expansion generally), Plaintiffs are seeking

a remedy for economic activity the executive branch has itself conducted and promoted, and are

asking this Court to second-guess the foreign policy decisions of the branch of government that

is charged with the responsibility for the conduct of that foreign policy. This Court should

affirm its precedents and decline to do so.

          C.      The Al-Tamimi Decision Demonstrates Dismissal Is Appropriate

          The D.C. Circuit's recent decision in Al-Tamimi v. Adelson, 9 F.3d 1 (D.C. Cir. 2019)

confirms that dismissal of the Amended Complaint is proper and does not alter the analysis set

forth above.

          As an initial matter, the Al-Tamimi Court did not address, consider or resolve the

application of the act of state doctrine to the claims there. Id. And, as set forth above, the act of

state doctrine bars Plaintiffs' claims in the Amended Complaint.

          Nor does Al-Tamimi alter the analysis on the political question doctrine as the facts of

that case, though also alleging liability for alleged crimes committed against Palestinians in the

West Bank and Gaza Strip, are materially different than the allegations here. Specifically, in Al-


2
  “Israel is the largest cumulative recipient of U.S. foreign assistance since World War II. As of December 2016, the
United States had provided Israel $127.4 billion (current, or non-inflation-adjusted, dollars) in bilateral assistance.
Almost all U.S. bilateral aid to Israel is in the form of military assistance. At a signing ceremony at the State
Department on September 14, 2016, representatives of the U.S. and Israeli governments signed a new ten-year
Memorandum of Understanding (MOU) on military aid covering FY2019 to FY2028. Under the terms of the MOU,
the United States pledged to provide $38 billion in military aid ($33 billion in FMF grants plus $5 billion in missile
defense appropriations) to Israel. This new MOU will replace the current $30 billion 10-year agreement, which runs
through FY2018.” Congressional Research Service, US Foreign Aid to Israel, (December 22, 2016) (attached
hereto as Exhibit 2 to the Declaration of Donald David).


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Tamimi, the plaintiffs alleged that the defendants funneled millions of dollars through tax-

exempt entities and banks directly "to Israeli villages called 'settlements.'" Id. at 4. And, armed

with that financial assistance, the plaintiffs alleged that the settlement leaders hired their own

private security forces that trained settlement militias. Id. In the face of those allegations, the

Al-Tamimi Court found that the complaint posed a classic political question "who has

sovereignty over the disputed [West Bank and Gaza] territory." Id. at 10 (emphasis in original).

However, the Court denied dismissal because it found that the issue over sovereignty could be

separated from other bases of liability and "the plaintiffs…waived any theory of liability based

on the conduct of the Israeli military." Id. at 13.

        Here, by contrast, Plaintiffs have not waived any theory of liability based on the conduct

of the Israeli military or its government. Nor could they. As is evident from both the caption

and the claims in the Amended Complaint here, Plaintiffs' claims are inextricably intertwined

with all of the theories of liability in this case. Plaintiffs allege that KFF aided and abetted acts

of the Israeli government and the IDF against Palestinian settlers in the disputed territories. They

allege that KFF did so by directly funding the IDF as well as Israeli NGOs that they knew would

fund the IDF's activities in the disputed territories. Indeed, Plaintiffs assert direct causes of

action against Prime Minister Netanyahu, Israeli Ministry of Defense Officials Ehud Barak and

Avigdor Lieberman, Knesset Member Tzipi Livni, as well as David Friedman, the United States

Ambassador to Israel. As such, unlike Al-Tamimi, here the political questions raised by the

Amended Complaint are inextricably intertwined with the political questions of, among others,

sovereignty of the West Bank and Gaza Strip. As such, dismissal is appropriate under both the

act of state and political question doctrines.




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II.     THE ATA CLAIM MUST BE DISMISSED BECAUSE PLAINTIFFS DO NOT
        HAVE STANDING UNDER JASTA AND THERE IS NO SECONDARY
        LIABILITY UNDER § 2333

        A.      The Statutory Framework of Civil Liability Under the Anti-Terrorism Act

        18 U.S.C. § 2333(a) provides that “[a]ny national of the United States injured in his or

her person ... by reason of an act of international terrorism, or his or her estate, survivors, or

heirs, may sue therefor in any appropriate district court of the United States and shall recover

threefold ... damages.” Thus, on its face, the ATA requires Plaintiffs to plead three elements:

(1) an injury to a United States national; (2) an act of international terrorism; and (3) causation.

Whether or not a Plaintiff has suffered an injury cognizable under the ATA thus depends in part

on the definition of “international terrorism.” That term is defined as activities that:

        (A) involve violent acts or acts dangerous to human life that are a violation of the
        criminal laws of the United States or of any State, or that would be a criminal
        violation if committed within the jurisdiction of the United States or of any State;

        (B) appear to be intended–

                (i) to intimidate or coerce a civilian population;

                (ii) to influence the policy of a government by intimidation or
                coercion; or

                (iii) to affect the conduct of a government by mass destruction,
                assassination, or kidnapping; and

        (C) occur primarily outside the territorial jurisdiction of the United States, or
        transcend national boundaries in terms of the means by which they are
        accomplished, the persons they appear intended to intimidate or coerce, or the
        locale in which their perpetrators operate or seek asylum ....

18 U.S.C. § 2331(1).

        The civil liability provision thus incorporates by reference a broad range of state and

federal crimes that may constitute “acts of international terrorism,” if a plaintiff can show both

that a defendant committed the criminal violation and that the crime satisfies the additional

criteria listed above (i.e., injury and causation).

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         Plaintiffs in this case allege, inter alia, that KFF’s conduct violated the “material

support” provisions of the ATA: 18 U.S.C. §§ 2339A and 2339C. 3 Section 2339A(a) makes it a

crime to “provide [ ] material support or resources [to terrorists] ... knowing or intending that

they are to be used in preparation for, or in carrying out, a violation of” various criminal

statutes.4    Section 2339C(a)(1) makes it a crime to “by any means, directly or indirectly,

unlawfully and willfully provide[ ] or collect[ ] funds ... with the knowledge that such funds are

to be used” to carry out an act intended to cause death or serious bodily injury, where the

purpose of the act “by its nature or context, is to intimidate a population, or to compel a

government or an international organization to do or to abstain from doing any act.”

         Plaintiffs’ theory of civil liability under the ATA is that KFF participated in a conspiracy

to violate sections of the criminal code (e.g., 2339A and 2339C), and, therefore, KFF is civilly

liable to Plaintiffs because Plaintiffs were injured “by reason of” the related acts of international

terrorism. Plaintiffs’ theory of liability is untenable for the several reasons below.

         B.        Secondary Liability under the ATA, Pre- and Post-JASTA

         The Amended Complaint (presumably)5 bases its ATA claims on theories of aiding and

abetting and conspiracy liability.6 However, as explained below, if there ever was a cognizable


3
  Plaintiffs also allege that KFF has violated various provisions of the criminal code related to tax fraud and money
laundering. These allegations are of a piece with the section 2339 allegations. The gravamen of Plaintiffs’ claim is,
essentially, that KFF’s donations are not what KFF says they are, and thus KFF is liable under the ATA based on
predicate offenses under the various statutes.
4
  With respect to Section 2339A, Plaintiffs allege that “18 U.S.C. § 2339(A) prohibits the provision of material support or
resources to persons or entities which have committed acts of international terrorism, and … [a]ll Defendants named herein
have actually participated in . . .acts of international terrorism[.]” But Section 2339A does not say that. It does not mention
the term “international terrorism,” but lists predicate statutory bases upon which liability under 2339A may attach. It is thus
impossible for KFF to determine the basis for the ATA claim against it, and thus the allegation fails to provide the requisite
notice and the ATA claim must be dismissed. See infra, n.5.
5
  It is nearly impossible to untangle which allegations support which causes of action, and which causes of action
proceed under which specific statutory bases. The purpose of Rule 8 is to “give fair notice to the defendants of the
claim being asserted, sufficient to prepare a responsive answer, [and] to prepare an adequate defense.” Adams v.
U.S. Dep’t of State, 2013 WL 4579929, at *1 (D.D.C. July 10, 2013). “A complaint that is excessively long,
rambling, disjointed, incoherent, or full of irrelevant and confusing material does not meet the Rule’s pleading

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claim based on secondary liability under the ATA, now that Congress has spoken on the issue

with the recent passage of the Justice Against Sponsors of Terrorism Act (“JASTA”), which

amended the ATA to explicitly address the issue of secondary liability, there is no longer any

viable theory of liability upon which Plaintiffs can proceed.

           “Much ink has [ ] been spilled on the question of secondary liability under the ATA.”

Owens v. BNP Paribas S.A., No. CV 15-1945 (JDB), 2017 WL 394483, at *5 (D.D.C. Jan. 27,

2017). Prior to the passage of JASTA, “courts and the litigants [ ] debate[d] whether a plaintiff

can recover against a defendant who aided and abetted a violation of the ATA, or conspired to

violate the ATA, without having committed an underlying criminal violation.” Id. As the

Owens Court explained, “Section 2333 itself is silent on this issue . . . .. Courts initially split on

this question[.]” Id. (collecting cases). After an extensive analysis of the state of the law, Judge

Bates concluded that “the now-previous version of the ATA applicable to this case does not

provide for civil aiding and abetting liability under § 2333.” Id. at *7.

           In coming to this conclusion, Judge Bates noted that the

           silence [of the pre-amendment statutory text] as to civil aiding and abetting
           liability under § 2333 is [ ] significant. Indeed, the fact that Congress just months
           ago amended the ATA [with the passage of JASTA] to specifically include aiding
           and abetting liability [ ] further underscores that Congress recognizes the import
           of its statutory silence and does indeed know how to provide for such liability
           when it chooses to do so.

Id. at *7.



requirements[.]” Id. Furthermore, a complaint cannot “lump [ ] all the defendants together in each claim” without
providing “each defendant with fair notice of each claim and its basis.” Toumazou v. Turkish Republic of N. Cyprus,
71 F. Supp. 3d 7, 21 (D.D.C. 2014) (internal quotations omitted). The Complaint fails to provide notice under these
standards consistent with Rule 8. Plaintiffs’ impermissible grouping of defendants also “supports dismissal under
the standards set forth in Twombly and Iqbal,” as such allegations are, by their nature, vague and conclusory. Ochre
LLC v. Rockwell Architecture Planning & Design, P.C., 2012 WL 6082387, at *7 (S.D.N.Y. Dec. 3, 2012) (“Where
a complaint names multiple defendants, that complaint must provide a plausible factual basis to distinguish the
conduct of each of the defendants.”). The Complaint should thus be dismissed for these additional reasons.
6
    See, e.g., Am. Compl , ¶¶ 86-109.


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       C.      JASTA Aiding and Abetting Liability Is Not Available Here

       Congress chose to provide for secondary liability under the ATA only in limited

circumstances. JASTA provides that civil “liability may be asserted as to any person who aids

and abets, by knowingly providing substantial assistance, or who conspires with the person who

committed such an act of international terrorism.” JASTA § 4(a), codified at 18 U.S.C. §

2333(d)(2). However, the plain text of the statute is fatal to Plaintiffs’ claims, because the injury

the plaintiff seeks to remedy must arise “from an act of international terrorism committed,

planned, or authorized by an organization that had been designated as a foreign terrorist

organization under section 219 of the Immigration and Nationality Act.” Id. (emphasis added).

As such, Plaintiffs have not and cannot state an “aiding and abetting” claim under JASTA,

because neither Israel nor the IDF is or has ever been so designated.

       D.      There Are No Civil Claims for Conspiracy or Aiding and Abetting Available
               Under § 2333 Other Than JASTA’s Limited Provision for Secondary
               Liability

       Even if this Court were to determine that the statutory text does not end this inquiry, the

history of judicial interpretation of the pre-JASTA ATA and the legislative history of JASTA

together demonstrate that there is no civil secondary liability of any kind under the ATA, aside

from that provided for by JASTA.

       A court’s duty “is to ascertain the congressional intent and give effect to the legislative

will.” Philbrook v. Glodgett, 421 U.S. 707, 713 (1975). An important index of congressional

intent is that Congress would have expected courts to interpret new amendments based on

Congress’s knowledge of how courts had interpreted the statute before the amendment. See, e.g.,

Cannon v. Univ. of Chicago, 441 U.S. 677, 702-03 (1979) (finding significant, in holding that

Title IX creates an implied private right of action, the fact that courts had consistently found

implied private rights of action in the statute prior to congressional revisitation); McClellan v.

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Cablevision of Connecticut, Inc., 149 F.3d 161, 166 (2d Cir. 1998) (finding congressional intent

to imply a private cause of action under § 531(e) of the Cable Communications Policy Act when

three district courts had found an implied private right of action under § 531(e) and Congress, in

amending the statute, did not explicitly reject their interpretation).

       Here, when the final draft of JASTA was being considered for passage, the majority

opinion – and the better view – among the Circuit Courts was that the ATA did not provide for

secondary liability. See Owens, 2017 WL 394483, at *5. As such, it is logical to conclude that

Congress intended for the courts, post-passage of JASTA, to construe the ATA as providing for

only the limited secondary liability explicitly granted by the JASTA amendment.

       Additionally, analysis of the “legislative history” of a statute is among the “traditional

tools of statutory construction” to which this Court should look “for clues of congressional

intent.” K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 300 (1988). As Mr. Goodlatte of the House

of Representatives noted when voting to pass JASTA:

       In particular, I have worked to make sure that JASTA’s extension of secondary
       liability under the Anti-Terrorism Act closely tracks the common law standard for
       aiding and abetting liability and is limited to State Department-designated
       foreign terrorist organizations. Secondary liability should only attach to persons
       who have actual knowledge that they are directly providing substantial assistance
       to a designated foreign terrorist organization in connection with the commission
       of an act of international terrorism. JASTA, as revised in the Senate Judiciary
       Committee, ensures that aiding and abetting liability is limited in this manner.

162 Cong. Rec. H5239-03, 162 Cong. Rec. H6023-02, H6029 (comments of House Mem. Robert

Goodlatte) (emphasis added). House Member Mr. Smith echoed this view, noting that JASTA

“corrects conflicting case law” regarding secondary liability, and that the ATA, as amended by

JASTA, does not provide for secondary liability “except in the cases where someone knowingly

aids, abets, or conspires with a State Department-designated foreign terrorist organization.” 162




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Cong. Rec. H6023-02, 162 Cong. Rec. H6023-02, H6029 (comments of House Mem.

Christopher Smith).

       In comparison, “the legislative history of the ATA [as originally enacted] provides little

concrete insight into the precise scope of liability contemplated in the civil liability provision.”

Owens, 2017 WL 394483, at *7. Where a clarifying amendment addresses an issue on which the

original statute was silent, the amendment is “particularly persuasive evidence” of Congress’

intent. See Johnson v. U.S. Dep’t of Hous. & Urban Dev. (HUD), 911 F.2d 1302, 1308–09 (8th

Cir. 1990) (“The clarifying amendment cannot override the ‘unmistakable intent of the enacting

[Congress],’ but is particularly persuasive evidence when that intent is ambiguous or obscure.”)

(citing Seatrain Shipbuilding Corp. v. Shell Oil Co., 444 U.S. 572, 596 (1980)).

       In light of the forgoing, there is no civil liability under the ATA in the nature of

secondary liability beyond the limited textual grant in JASTA. The legislative history of both the

originally enacted ATA and the JASTA amendment, considered together and in light of the

intervening interpretative conflict in the courts, supports that view. Because Congress has

spoken and explicitly clarified the law as to aiding and abetting liability under the ATA, see

Johnson, 911 F.2d at 1308 (“[w]e also have the benefit of a clarifying amendment which

purports to answer the very question presented by this litigation.”), any previous interpretation

that provided for civil liability in the nature of secondary liability is no longer viable, and

Plaintiffs’ ATA claim must be dismissed.




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III.   THE AMENDED COMPLAINT FAILS TO STATE A CLAIM UNDER THE ATA
       BECAUSE IT DOES NOT ALLEGE AN INJURY THAT OCCURRED “BY
       REASON OF” ANY CONDUCT BY KFF

       A.      The Amended Complaint Must Plausibly Plead That KFF’s Actions
               Proximately Caused The Attacks

       Even if secondary liability were available here, Plaintiffs' claim still must be dismissed.

Section 2333(a) requires that the Amended Complaint plausibly allege that Plaintiffs’ injuries

occurred “by reason of” KFF’s donations to Israeli NGOs. The phrase “by reason of” requires “a

showing that the defendant’s violation not only was a ‘but for’ cause of his injury, but was the

proximate cause as well.” BCCI Holdings (Luxembourg), S.A. v. Khalil, 214 F.3d 168, 173

(D.C. Cir. 2000) (quoting Holmes, 503 U.S. at 258).

       Thus, the Amended Complaint must properly plead that KFF’s actions “led directly to the

[Plaintiffs’] injuries.” See Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461, 126 S. Ct. 1991

(2006) (“[T]he central question [with respect to proximate cause] . . . is whether the alleged

violation led directly to the plaintiff’s injuries.”); Siegel v. SEC, 592 F.3d 147, 159 (D.C. Cir.

2010) (“[P]roximate causation . . . is normally understood to require a direct relation between

conduct alleged and injury asserted.”) (internal quotations omitted) (citing Holmes, 503 U.S. at

258); Boim v. Holy Land Found. for Relief & Dev., 549 F. 3d 685, 698 (7th Cir. 2008) (en banc)

(“Boim III”) (defendants’ direct provision of funds to Hamas satisfied proximate cause because

it “significantly enhanced the risk of terrorist acts [committed by Hamas] and thus the probability

that the plaintiff’s decedent would be a victim”) (emphasis added).

       B.      Without A Plausible Allegation That Funds Were Provided Directly to
               Persons Engaging In Terrorist Activity, the ATA Claim Must be Dismissed

       Under the Anza standard, the Amended Complaint’s allegations are insufficient to

establish the necessary proximate causal link between KFF’s actions and the injuries alleged.

The Amended Complaint can satisfy the ATA’s proximate causation requirement only by

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making plausible allegations that funds provided by KFF actually were transferred to the

perpetrators of the alleged acts that gave rise to Plaintiffs' alleged harm, or that those funds were

otherwise a “but for” cause of such harm. But the Amended Complaint lacks any allegations of

any transfers directly to perpetrators of alleged terrorist activities, let alone persons who

allegedly caused the injuries alleged in this case.

         First, there is no allegation that KFF itself participated in or made direct transfers to

enable any terrorist activity.         See Rothstein v. UBS AG, 708 F.3d 82, 97 (2d Cir. 2013).

Similarly, there are no allegations that donations made to Israel by KFF were “necessary” or in

any way essential to any terrorism. Id. Here, there are no non-conclusory allegations that, if

KFF had not made the charitable donations to Israeli NGOs, the IDF would not have taken the

actions alleged in the Amended Complaint, or that the settlement expansion as alleged in the

Amended Complaint would not have occurred – which together allegedly resulted in Plaintiffs’

injuries. See id. The conclusory statements that “KFF sent $315,000 to the Israeli army between

2011 and 2013,” and that “Friedman and Kushner family members” have made “significant

monetary contributions” to Israeli-based NGOs do not suffice under the ATA (or any claim).

Such allegations offer, at best, an indirect causal chain.                  See Am. Compl., ¶¶ 78, 69-70.

Moreover, even if true, the Israeli army has substantial, legal, non-terroristic purposes that

involve, for example, self-defense, which activities have no connection to the settlements,

thereby further attenuating any causal connection that could be alleged between KFF donations

and the injuries alleged.7

         The distinction between permissible civil ATA claims based on direct causation and

impermissible claims based on indirect causation is underscored by ATA rulings in this District.
7
  The court’s observation in Rothstein with respect to Iran is a propos here: As that court noted, “[t]he fact remains
that [Israel] is a government, and as such it has many legitimate agencies, operations, and programs to fund.”
Rothstein, 708 F.3d at 97.


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Wultz v. Islamic Republic of Iran concerned allegations that defendant Bank of China (“BOC”)

transferred funds directly from Palestinian Islamic Jihad (“PIJ”) operatives to an account BOC

maintained for a PIJ agent. 755 F. Supp. 2d 1, 22 (D.D.C. 2010). Accordingly, the Wultz Court

held that the Amended Complaint adequately pled proximate causation because BOC “allegedly

knew that it was providing financial services to an agent of the PIJ, and that the PIJ would use

those funds for the sole purpose of engaging in terroristic violence against Jewish civilians in

Israel.” Id. at 53. The Court in Wultz found that proximate cause had been adequately pled

because the Wultz complaint “alleged a flow of money directly into the coffers of the PIJ—an

organization entirely devoted to terrorist activity, and thus one that is unlikely to use wired

moneys for any other purpose.” Id. at 22 (citations omitted).

       Wultz therefore demonstrates that, in an indirect causation case such as this one, a

plaintiff cannot satisfy the ATA’s proximate causation requirement where he or she fails to

plausibly allege that funds provided by the defendant actually were transferred to the perpetrator

of the attack, or that those funds were otherwise a “but for” cause of that attack. Plaintiffs have

not and cannot adequately plead proximate cause on this standard, because their theory of

liability involves multiple chains of inference and transfers of funds between KFF, other

organizations, and then to the alleged perpetrators of the underlying alleged terrorist activity.

       This Court recently rejected a theory of causation nearly identical to that offered by

Plaintiffs here, finding that Section 2333 required proximate causation and that Plaintiffs had not

and could not meet it. Owens v. BNP Paribas S.A., No. CV 15-1945 (JDB), 2017 WL 394483, at

*10 (D.D.C. Jan. 27, 2017) (providing a thorough examination of the law). In Owens, this Court

held that allegations like those here amount to a “post hoc, ergo propter hoc proposition that

would mean that any provider of U.S. currency to a state sponsor of terrorism would be strictly



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liable for injuries subsequently caused by a terrorist organization associated with that state.

Section 2333, however, does not impose this kind of liability.” Owens, 2017 WL 394483, at *10

(internal citation omitted) (quoting Rothstein, 708 F.3d at 96).

       Decisions from other federal courts are in accord. In a recent case from the Second

Circuit, victims and families of victims of bombings in Israel committed by terrorist

organizations (Hezbollah or Hamas) brought suit against UBS, alleging that bank aided and

abetted international terrorism and aided and abetted violations of customary international law.

Rothstein v. UBS AG, 708 F.3d 82 (2d Cir. 2013). The Rothstein Plaintiffs alleged that UBS

“provided Iran with hundreds of millions of dollars in cash” knowing that: (1) Iran “promot[ed]

terrorism to injure and intimidate the Jewish residents of Israel”; (2) Iran “provided Hamas and

Hizbollah with hundreds of millions of dollars to fund terrorist attacks”; and (3) Iran

“conditioned that funding on agreement by those organizations to conduct terrorist attacks on

Israel and its residents.” Rothstein, 708 F.3d at 92. In other words, UBS allegedly provided

funding to a known state sponsor of terrorism (in violation of federal law) that, in turn, provided

funding to Hezbollah and Hamas.

       These allegations – far more robust than those Plaintiffs offer in the Amended Complaint

– were insufficient to establish proximate causation. Id. Similarly, in In re Terrorist Attacks on

Sept. 11, 2001, certain defendants were alleged to have provided funding to purported charitable

organizations allegedly known to support terrorism that, in turn, provided funding to al Qaeda

and other terrorist organizations. The Second Circuit, citing Rothstein approvingly, held that:

       [T]hese allegations are insufficient for proximate causation purposes for the same
       reasons the allegations in Rothstein fell short. Simply put, Plaintiffs do not allege
       that the Rule 12(b)(6) defendants participated in the September 11, 2001 attacks
       or that they provided money directly to al Qaeda; nor are there factual allegations
       that the money allegedly donated by the Rule 12(b)(6) defendants to the purported



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         charities actually was transferred to al Qaeda and aided in the September 11, 2001
         attacks.

In re Terrorist Attacks, 714 F.3d 118, 124 (2d Cir. 2013).

         The weight of authority in this District and elsewhere is clear and convincing: where

there is no direct theory of causation, and no factually supported allegations that specific funds

were transferred and used in furtherance of specific terrorist acts, there is no proximate cause

under the ATA. Plaintiffs’ ATA claim thus fails for this additional reason.

IV.      THE ATA CLAIM MUST BE DISMISSED BECAUSE AN ATA CLAIM
         PREDICATED UPON “ACTS OF WAR” IS BARRED BY SECTION 2336(a)

         Section 2336(a) of the ATA also mandates dismissal of the ATA claim because the

Amended Complaint alleges injuries caused by “acts of war” over which the ATA does not

extend jurisdiction. Section 2336(a) of the ATA provides that “[n]o action shall be maintained

under section 2333 of this title for injury or loss by reason of an act of war.” Section 2331(4), in

turn, defines “act of war” as “any act occurring in the course of—(A) declared war; (B) armed

conflict, whether or not war has been declared, between two or more nations; or (C) armed

conflict between military forces of any origin.”

         The statutory definition of act of war in section 2331(4)(C) is broad. It covers ‘any act’

without limit or qualification and requires, in relevant part, only that the act be one occurring in

the course of armed conflict between military forces of any origin. 8 It is beyond dispute that

there is an ongoing conflict between the Israeli military and Palestinian military forces

surrounding Israel, the West Bank and Gaza. The Amended Complaint focuses on the activities

of the IDF in supporting the settlement of the West Bank. The IDF is of course a military force.


8
  There is little in the way of legislative history regarding the definition of act of war in section 2331 or section
2336(a) itself. But from a policy standpoint it makes sense that the bar of section 2336(a) should be widely applied
to ATA cases arising from armed conflict. By excluding “acts of war” from the ATA, Congress sought to avoid
having the courts of the United States be arbiters of war damages among populations in a conflict on foreign soil.


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The IDF has troops and tanks and other armored vehicles, as well as helicopters, jet aircraft and

missiles. The IDF protects settlements and settlers throughout the occupied territories. The

Israeli government and the Palestinian Authority have consistently characterized the conflict as

armed conflict. Accordingly, because the allegations of the Amended Complaint fall within the

statutory definition of “act of war,” the claims are not cognizable under the ATA.

       A holding to that effect would comport with the purpose and intended scope of the ATA.

The ATA is intended to deter international terrorism against United States nationals. But where

an alleged injury arises from an ongoing armed conflict between two foreign groups on foreign

soil, the ATA has no such deterrent effect. The violence alleged in the Amended Complaint,

based on a conflict in the West Bank, like all acts in such an ongoing armed conflict, was not

directed at persons targeted as citizens of the United States.

V.     THE ALIEN TORT STATUTE CLAIM MUST BE DISMISSED BECAUSE THE
       CLAIM LACKS SUFFICIENT CONTACT WITH THE UNITED STATES
       UNDER KIOBEL AND CORPORATE LIABILITY IS BARRED

       A.      The Claim Lacks Sufficient Contact With The United States

       The Alien Tort Statute (“ATS”) is a jurisdictional statute that creates no causes of action.

It permits federal courts to “recognize private claims [for a modest number of international law

violations] under federal common law.” Sosa v. Alvarez–Machain, 542 U.S. 692, 732 (2004).

The Supreme Court in Kiobel held that the presumption against extraterritoriality applies to

claims brought under the ATS and that nothing in the statute’s text, history, or purposes rebutted

that presumption. Kiobel v. Royal Dutch Petroleum Co., 133 S. Ct. 1659, 1665 (2013). The

Supreme Court’s holding in Kiobel precludes Plaintiffs’ ATS claim on the facts of this case.

       The statutory canon against extraterritoriality provides that “‘[w]hen a statute gives no

clear indication of an extraterritorial application, it has none.’” Kiobel, 133 S. Ct. at 1664;

Morrison v. National Australia Bank Ltd., 130 S.Ct. 2869, 2878 (2010). This presumption

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against extraterritorial application of federal statutes “serves to protect against unintended

clashes between our laws and those of other nations which could result in international discord.”

EEOC v. Arabian American Oil Co., 499 U.S. 244, 248, 274 (1991). The Supreme Court

observed that this concern is even more pronounced in the context of the ATS, since “the

question is not what Congress has done but instead what courts may do.” Kiobel v. Royal Dutch

Petroleum Co., 133 S. Ct. 1659, 1664 (2013). As such, “[t]he Supreme Court’s decision in

Kiobel II drastically limits the viability of ATS claims based on conduct occurring abroad.” In

re S. African Apartheid Litig., 56 F. Supp. 3d 331, 336 (S.D.N.Y. 2014), aff’d sub nom. Balintulo

v. Ford Motor Co., 796 F.3d 160 (2d Cir. 2015).

       The Supreme Court allowed that certain “claims [may] touch and concern the territory of

the United States . . . with sufficient force to displace the presumption against extraterritorial

application” of the ATS. Kiobel, 133 S. Ct. at 1669. But the “Supreme Court expressly held that

claims under the ATS cannot be brought for violations of the law of nations occurring within the

territory of a sovereign other than the United States.” Balintulo v. Daimler AG, 727 F.3d 174,

189 (2d Cir. 2013). That is, the presumption against extraterritorial application can be rebutted

only if conduct within the United States is itself sufficient to violate an international law norm.

Kiobel, 133 S. Ct. at 1670 (Alito, J., concurring).

       Following the Supreme Court’s decision in Kiobel, courts have rejected aiding and

abetting ATS liability for defendants on more robust allegations than those here. The Second

Court, interpreting and applying the new standard laid down by the Supreme Court, rejected

Plaintiffs’ argument that defendants’ “affirmative steps in this country to circumvent the [South

African] sanctions regime,” including “continu[ing] to supply the South African government

with their products, notwithstanding various legal restrictions against trade with South Africa,”



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are sufficient to “tie[ ] the relevant human rights violations to actions taken within the United

States.” Balintulo v. Ford Motor Co., 796 F.3d 160, 169 (2d Cir. 2015). The situation here

‘touches and concerns’ the United States to a far lesser degree, in that there is no American

sanctions regime implicated by KFF’s donations, and KFF does not control the charitable

corporations to which it donates in Israel (which corporate domination and control was at issue

and alleged in Balintulo).

       Other courts agree that the reach of the ATS to conduct outside United States’ borders is

limited. The Eleventh Circuit, in Cardona v. Chiquita Brands Intern., Inc., determined that the

federal courts had no jurisdiction over ATS claims where the tort that allegedly violated the ATS

occurred on foreign soil. 760 F.3d 1185, 1189-90 (11th Cir. 2014). Other courts have similarly

held that the “touch and concern” standard is not met where, as here, the events or actions that

would trigger primary liability under the ATS do not occur in the United States. See Giraldo v.

Drummond Co., No. 2:09-CV-1041-RDP, 2013 WL 3873960, at *8 (N.D. Ala. July 25, 2013),

(holding that “where a Complaint alleges activity in both foreign and domestic spheres,

extraterritorial application of a statute arises only if the event on which the statute focuses did not

occur abroad”) aff’d sub nom. Doe v. Drummond Co., 782 F.3d 576 (11th Cir. 2015); accord

Kiobel, 133 S. Ct. at 1670 (Alito, J., concurring) (the presumption against extraterritorial

application can be rebutted only if conduct within the United States is itself sufficient to violate

an international law norm).

       Drummond is instructive. In Drummond, the decedents of Colombians killed by the

Autodefensas Unidas de Colombia (“AUC”), sued Drummond Co. (“Drummond”), a U.S. coal

mining company based in Alabama. Drummond, 2013 WL 3873960, at *2. Plaintiffs alleged

that Drummond aided and abetted the AUC so that the AUC would protect Drummond’s



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corporate interests in Colombia. Id. The Drummond Plaintiffs claimed that the AUC committed

extrajudicial killings, war crimes, and crimes against Plaintiffs on behalf of Drummond Co. to

fulfill this mission. Id.

        Plaintiffs argued that the presumption against extra-territoriality did not apply because

the case involved United States defendants who committed acts in the United States in

furtherance of human rights abuses in Colombia. As to the conduct touching and concerning the

United States, Plaintiffs argued that the Defendant contractor, Drummond, made executive

decisions,9 ran its Columbian operations out of the United States,10 and had extensive contacts

with the primary Columbian paramilitary perpetrators by way of an intermediary appointed by

the CEO in the United States.11

        The Court, dismissing the ATS claim, held that even if it were to credit these allegations,

the Plaintiffs’ “theory on extraterritorial reach still does not hold water based on the most logical

and unstrained reading of Kiobel.” Drummond, 2013 WL 3873960, at *8 (N.D. Ala. July 25,

2013). The Drummond Court held that:

        where a Complaint alleges activity in both foreign and domestic spheres, an
        extraterritorial application of a statute arises only if the event on which the statute
        focuses did not occur abroad. Of course, the ATS focuses on the torts of
        extrajudicial killings and war crimes (violations of the law of nations), and in the
        Balcero case, the tort at issue occurred abroad, in Colombia, and not in the United
        States.

Id. (emphasis in original).




9
 “Drummond’s decision to provide material support to the AUC and commissioning others to engage in war crimes
and extrajudicial killings was made by DCI’s CEO, Garry Drummond, in Alabama.” Drummond, 2013 WL
3873960, at *5.
10
  “Drummond controls operations in Colombia from its headquarters in Alabama and that Garry Drummond met
regularly regarding security in Drummond’s Colombian operations.” Id. at *6.
11
  “Jim Adkins acted as Drummond’s agent when he implemented the plan for Drummond to support the AUC’s war
effort in the area of Drummond’s operations.” Id.


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       The allegations here are again a far cry from those that did not suffice in Drummond.

The essence of the Drummond Plaintiffs’ allegations was that the United States corporate

contractor specifically directed the predicate torts that were themselves violations of

international law. Here, even if Plaintiffs’ allegations were credited in full – and they should not

be, as they are entirely conclusory – Kiobel and its progeny require dismissal of the Plaintiffs’

ATS claim on these facts because the actions by KFF that took place on U.S. soil were not

themselves violations of international law, and the alleged harm occurred on foreign soil. There

is simply nothing here that “touches and concerns” the United States sufficient to sustain an

action under the ATS. As such, Plaintiffs’ claim must be dismissed.

       B.      There Is No Corporate Liability Under The Alien Tort Statute

       As noted above, the ATS provides district courts with jurisdiction over a tort, brought by

an alien only, alleging a "violation of the law of nations or a treaty of the United States." 28

U.S.C. §1350. As such, jurisdiction under the ATS "is limited to those cases alleging a violation

of an international norm that is 'specific, universal, and obligatory." Kiobel v. Royal Dutch

Petroleum Co., 621 F.3d 111, 148 (2d Cir. 2010), quoting Sosa, 542 U.S. at 732. Thus, federal

courts will only entertain claims under the ATS "based upon the present-day law of nations"

provided that the claims rest on "norm[s] of international character accepted by the civilized

world and defined with a specificity comparable to the features of the 18 th-century paradigms

recognized." Sosa, 542 U.S. at 725. "[A] related consideration is whether international law

extends the scope of liability for a violation of a given norm to the perpetrator being sued, if the

defendant is a private actor such as a corporation of an individual." Id. at 732 n. 20. In Kiobel,

the Second Circuit, after an extensive review of international law, treaties and norms, held that

the law of nations did not support the imposition of liability on corporate entities, such as KFF



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here, under the ATS. Kiobel, 621 F.3d at 148 (holding that "[n]o corporation has ever been

subject to any form of liability…under customary international law of human rights).

       Largely adopting the Second Circuit's holding in Kiobel, the Supreme Court recently

issued its decision in Jesner v. Arab Bank, 138 S.Ct. 1386 (2018). While Jesner concerned the

liability of a foreign corporation under the ATS, the Jesner Court, just as the Second Circuit in

Kiobel, held that "[t]he international community's conscious decision to limit the authority

of…international tribunals to natural persons counsels against a broad holding that there is a

specific, universal, and obligatory norm of corporate liability under currently prevailing

international law."   Id. at 1401.     Indeed, rejecting the plaintiff's argument that in certain

circumstances international law will impose corporate liability, the Jesner Court held that "the

sources petitioners rely on to support their contention that liability for corporations is well

established as a matter of international law lend weak support to their position." Id. As such, in

Jesner, the Supreme Court held that a plaintiff could not bring suit against a foreign corporation

for an alleged violation of the ATS and that the determination of whether, and in what instances,

to impose liability on a foreign corporation should be determined, if at all, by the political

branches of government. Id. at 1408.

       Although Jesner concerned the issue of liability of a foreign corporate entity under the

ATS, the decision is equally applicable to a domestic corporate entity such as KFF. As noted

above, under Sosa, ATS liability "is limited to those cases alleging a violation of an international

norm that is 'specific, universal, and obligatory." Kiobel, 621 F.3d at 148, quoting Sosa, 542

U.S. at 732. And, as Jesner demonstrates, there is no "specific, universal and obligatory" norm

under international law that imposes liability upon a corporate actor for violations of

international law. Jesner, 138 S.Ct. at 1400. Indeed, in Jesner, the Supreme Court made clear



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that, notwithstanding that the international community has come to recognize the danger of

human rights violations, "[i]t does not follow…that current principles of international law extend

liability—civil or criminal—for human-rights violations to corporations or other artificial

entities." Id. Indeed, the Supreme Court found that the lack of an international norm imposing

liability upon artificial entities such as KFF "is confirmed by the fact that the charters of

respective international criminal tribunals often exclude corporations from their jurisdictional

reach." Id. Given that ATS liability can only be imposed where a complaint alleges the

violation of a specific, universal and obligatory international norm, and given that, as confirmed

by both Kiobel and Jesner, there is no specific, universal or obligatory international norm

imposing liability for alleged human rights abuses on corporate entities such as KFF, Plaintiffs

cannot maintain a cause of action against KFF under the ATS.

VI.     ALL CLAIMS AGAINST KFF MUST BE DISMISSED BECAUSE THE
        AMENDED COMPLAINT FAILS TO PROVIDE PLAUSIBLE ALLEGATIONS
        TO SUPPORT THEIR CLAIMS

        As discussed above, “[t]o survive a motion to dismiss, a Complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

554, 570 (2007)). This requires a plaintiff to plead “factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id. “[L]abels

and conclusions,” and “naked assertion[s] devoid of further factual enhancement,” do not satisfy

the pleading standard. Iqbal, 556 U.S. at 678 (internal quotation marks omitted). The Court

need not accept legal conclusions or inferences drawn by the plaintiff where those inferences are

unsupported by facts alleged in the Amended Complaint. See Browning v. Clinton, 292 F.3d

235, 242 (D.C. Cir. 2002). Iqbal’s plausibility standard requires more than a “sheer possibility”

that a defendant is liable. Iqbal, 556 U.S. at 678.

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       A.      ATA Claim

       Plaintiffs’ first cause of action alleges that KFF is liable under the ATA for Civil

Conspiracy to Arm and Train Foreign Militia Units. As described above, the ATA – primarily a

criminal statute – contains a civil remedies provision that provides that “[a]ny national of the

United States injured in his or her person, property, or business by reason of an act of

international terrorism, or his or her estate, survivors, or heirs, may sue therefor in any

appropriate district court of the United States.” 18 U.S.C. § 2333(a). Plaintiffs unsuccessfully

seek to link KFF to the actions of the Israeli defendants by claiming “conspiracy,” but their

allegations of conspiracy fall far short of plausible. The elements of conspiracy are: an 1)

agreement; 2) to participate in an unlawful act (or lawful act by unlawful means); 3) resulting in

an injury; 4) caused by an overt unlawful act performed by one of the parties to the agreement; 5)

which act was done in furtherance of the common scheme of the conspiracy. Halberstam v.

Welch, 705 F.2d 472, 477 (D.C. Cir. 1983).

       1.      Plaintiffs Fail to Adequately Plead the Existence of an Agreement

       To begin with, Plaintiffs fail to allege any nexus between KFF's collection and donation

activities on the one hand, and the allegedly wrongful activities of the Israeli defendants, on the

other. Specifically, with respect to the required element that there be an “agreement” for civil

conspiracy, the Amended Complaint fails to allege the actual existence of a specific agreement

of any kind, much less an agreement to perform any illegal act. The Amended Complaint states,

vaguely, as part of its recitation of the elements of the claim, that there was an “agreement”

between “U.S. and Israeli Defendants/Netanyahu and IMD officials/Kushner family and

Friedman.” Am. Compl., ¶ 87. However, Plaintiffs offer no facts in support of this legal

conclusion: they identify no actual written or oral agreement, and they offer no facts regarding

“specific time[s], place[s], or persons[s]” involved in any act in furtherance of the conspiracy.

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See Twombly, 550 U.S. at 565 (“the complaint here furnishes no clue as to which of the four

ILECs (much less which of their employees) supposedly agreed, or when and where the illicit

agreement took place”).

       Plaintiffs cannot plead an agreement because there was no such agreement. That a pro-

Jewish organization in the United States donated money to a pro-Jewish organization in Israel is

hardly surprising. See Twombly, 550 U.S. at 566 (“there is no reason to infer that the companies

had agreed among themselves to do what was only natural anyway”). That such donations were

typical of those between groups that share a common background and heritage is a plausible

inference. That such donations were part of an agreed-upon conspiracy between corporate

entities and governmental entities and officials in both countries to fund specific settlements in

the West Bank and terrorize the Palestinian population is not.

       Without an agreement, the sine qua non of a conspiracy claim, the entire civil conspiracy

cause of action fails as a matter of law.

       2.      Plaintiffs Fail to Adequately Plead Knowledge or Intent

       It is telling how many times Plaintiffs allege that KFF “had to know” that their charitable

collections and donations were being used for purposes that were criminal or terroristic in nature.

These “had to know” allegations are the classic “legal conclusions” that should be excluded in

the Court’s 12(b)(6) analysis. Like the intent allegations rejected as insufficient in Iqbal, they

are nothing more than “a formulaic recitation of the elements of a cause of action[.].” Id. at 555.

Stating that KFF “had to know” is asking the Court to make an unwarranted inference and does

not meet the requirement that a plaintiff allege “knowledge about the organization’s connection

to terrorism . . . .” Holder v. Humanitarian Law Project, 561 U.S. 1, 2 (2010); see also Stutts v.

De Dietrich Group, 2006 WL 1867060, at * 1 (E.D.N.Y. June 30, 2006) (rejecting as speculative

the argument that banks should have known they were enabling a chemical weapons program

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where there no factual allegations supporting the banks’ alleged knowledge); In re Terrorist

Attacks, 349 F.Supp.2d at 831-34 (same).

          There is no non-conclusory allegation that KFF knew what uses its specific donations

were put to. The State of Israel is not, nor has it ever been, designated by the United States as a

state-sponsored terrorist organization, so the requisite knowledge or intent cannot be inferred

simply by virtue of the transfer of charitable funds to Israel or to Israeli NGOs. Cf. Owens v.

BNP Paribas S.A., No. CV 15-1945 (JDB), 2017 WL 394483, at *10 (D.D.C. Jan. 27, 2017).

          The deficiencies in the allegations here become clear in comparison to those in Wultz v.

Islamic Republic of Iran. 755 F. Supp. 2d 1 (D.D.C. 2010). There the Court found that “Israeli

officials allegedly informed China, which informed [Bank of China (“BOC”)], that the transfers

were enabling the terrorist activities of the [Palestinian Islamic Jihad (“PIJ”)].” Id. at 46. Thus,

in Wultz the defendant BOC was specifically notified by Chinese officials that its provision of

financial services was enabling the terrorist activities of the PIJ (which notice was ignored by the

bank, which continued to provide those services). Id. at 50-51. (“In this case, plaintiffs have pled

facts alleging that BOC actually knew it was providing financial services to an agent of the PIJ,

thus risking the use of those funds in furtherance of the PIJ’s terrorist attacks.”) (emphasis

added).

          Here, there is no allegation that anyone notified KFF that its donations were being used to

bring about any of the alleged injuries in the Amended Complaint. There is no explanation in the

Amended Complaint regarding how KFF could have divined that its money was (allegedly)

being routed through Israeli NGOs, to government slush funds and then to the IDF, who then

used that money to engage in various activities that promoted settlement expansion, which

expansion then was, one presumes, the cause of Plaintiffs’ alleged injuries in the Amended



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Complaint. Instead, Plaintiffs offer their bare say-so as to KFF’s knowledge. But Plaintiffs must

furnish “more than labels and conclusions” in order to provide the “grounds” of “entitle[ment] to

relief.” Twombly, 550 U.S. at 555–56. These legal conclusions regarding KFF’s knowledge and

intent are not entitled to a presumption of truth and when removed from the stated claim of civil

conspiracy under the ATA, the claim necessarily fails as a matter of law.

       Moreover, unlike banks, such as the BOC at issue in Wultz, which are charged by law

with keeping accurate and routine records of all transfers, KFF has no such duty. Thus, the

Wultz court held that, even before the BOC was notified by Chinese officials, the heavily

regulated bank knew or should have known that the transfers were made for illegal purposes

“based on several attributes of the transfers that are universally recognized by all professional

bankers, including BOC and its employees, as typical indicia of transactions made for illegal

purposes.” See Wultz, 755 F. Supp2d at 52. This reasoning does not apply at all to a non-

banking institution like KFF.

       In sum, because the Amended Complaint, in its hundred-plus pages, does not muster any

facts in support of its broad claims of conspiracy, the ATA claim must be dismissed.

       B.      ATS Claim

       For a second cause of action, Plaintiffs allege that KFF is secondarily liable under the

ATS for aiding and abetting terrorist acts. “[A]iding and abetting liability [ ] under the ATS [ ]

involves a “knowledge” mens rea and a showing for actus reus of acts that have a substantial

effect in bringing about the violation.” Doe v. Exxon Mobil Corp., 654 F.3d 11, 39 (D.C. Cir.

2011), vacated on other grounds, 527 F. App’x 7 (D.C. Cir. 2013). The claim that KFF is

secondarily liable under the ATS requires: (1) a well-pled allegation of a primary violation of the

law of nations and (2) that the Amended Complaint plead a secondary violation of the law of

nations, by pleading the requirements for aiding and abetting liability as a matter of customary

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international law. See id., 654 F.3d. at 20. In this case, then, Plaintiffs must plausibly allege that

KFF was aware of the wrongful acts at the time the donations were collected and/or made, and

that KFF had knowledge not merely of the existence of the allegedly illegal activities in the

occupied territories, but, specifically, knowledge that the charitable funds it donated to Israel

would be used to carry out the specific acts that led to the specific injuries alleged in the

Amended Complaint. Additionally, Plaintiffs must then plausibly allege that KFF’s donations

had a substantial effect in bringing about their injuries. Plaintiffs fail on both fronts.

        1.      Plaintiffs Fail to Adequately Plead The Requisite Knowledge

        For the same reasons that Plaintiffs fail adequately to plead scienter with respect to the

ATA conspiracy claim, they also fail in this regard with respect to the ATS claim, using the same

conclusory “had to know” language. See, e.g., Am. Compl., ¶ 77. The Amended Complaint

does not plead any direct link between the aid allegedly rendered by KFF to Israeli-based NGOs

and the injuries alleged, as is required to establish aiding and abetting liability under

international law. See, e.g., Islamic Salvation Front, 257 F. Supp.2d 115, 121 (D.D.C. 2003)

(alleged links between defendant’s conduct and acts committed by armed Islamic groups

purportedly in violation of law of nations were “much too tenuous to support finding of [aiding

and abetting] liability” under ATS); Carmichael v. United Techs. Corp., 835 F.2d 109, 115 (5th

Cir. 1988) (ATS aiding-and-abetting claim failed absent evidence demonstrating a “causal

connection” between defendant’s conduct and putative law of nations violation). Thus, the ATS

claim must be dismissed for the same reasons the ATA claim must be dismissed – Plaintiffs have

not plead any facts that would support the plausible inference that KFF has aided and abetted

violations of international law.




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       2.      Plaintiffs Fail to Adequately Plead Actus Reus

       In the respects pertinent here, the actus reus must “consist [] of practical assistance,

encouragement, or moral support which has a substantial effect on the perpetration of the crime.”

Doe v. Exxon, 654 F.3d at 34 (D.C. Cir. 2011). “[A]iding and abetting may only be found where

assistance is provided to a criminal’s human rights abuses, not simply to the criminal him or

herself.” Doe v. Exxon Mobil Corp., No. CV 01-1357(RCL), 2015 WL 5042118, at *9 (D.D.C.

2015) (citing In re S. Afr. Apartheid Litig., 617 F. Supp. 2d 228, 257 (S.D.N.Y. 2009).

       For all of the same reasons discussed with respect to the ATA claim, the Amended

Complaint does not plausibly plead the actus reus that connects KFF’s conduct and the allegedly

illegal settlement activities. KFF's collection and donation of funds to Israeli NGOs – which is

the only conduct pled in non-conclusory terms – is too indirect to satisfy the proximate cause

standard. See Rothstein, 708 F.3d at 96; In re Terrorist Attacks, 714 F.3d at 124. The Amended

Complaint also fails to plausibly allege specific funds sent by KFF to Israeli groups was

transferred to those that caused the alleged injures. See id. The inference it makes to the

contrary is no more than a “naked assertio[n] devoid of further factual enhancement,”

Sievarding, 693 F. Supp. at 99, 100, and does not satisfy the Iqbal pleading standard.

VII.   ALL CLAIMS MUST BE DISMISSED BECAUSE THIS COURT LACKS
       PERSONAL JURISDICTION OVER KFF

       This Court must also dismiss Plaintiffs’ claims against KFF for lack of personal

jurisdiction. See Fed. R. Civ. P. 12(b)(2) (2007). For this Court to maintain personal jurisdiction

over KFF, jurisdiction must be proper under the District of Columbia’s long-arm statute and the

Due Process Clause. United States v. Ferrara, 54 F.3d 825, 828 (D.C. Cir. 1995). “The inquiry

whether a forum State may assert specific jurisdiction over a nonresident defendant focuses on the

relationship among the defendant, the forum, and the litigation.         For a State to exercise


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jurisdiction consistent with due process, the defendant’s suit-related conduct must create a

substantial connection with the forum State.” Walden v. Fiore, 134 S.Ct. 1115, 1121 (2014)

(internal quotation marks and citations omitted). The relationship between the defendant and the

forum “must arise out of contacts that the ‘defendant himself’ creates with the forum.” Id. at 1122

(citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)) (emphasis in original). The

“‘minimum contacts’ analysis looks to the defendant’s contacts with the forum State itself, not the

defendant’s contacts with persons who reside there.” Id. And the “same principles apply when

intentional torts are involved.” Id. at 1123.

         Plaintiffs must allege “specific facts” on which personal jurisdiction can be based; they

cannot rely on conclusory allegations. Atlantigas Corp. v. Nisource, Inc., 290 F. Supp. 2d 34, 42

(D.D.C. 2003). In deciding a motion to dismiss for lack of personal jurisdiction, the Court need

not treat Plaintiffs’ allegations as true. Id. Instead, the Court may consider and weigh affidavits

and other relevant matter. Id.

         KFF is not a resident of the District of Columbia, nor is it registered to do business here.

See Declaration of David Donald, ¶ 3, Ex. 1. Here, in support of jurisdiction in D.C., Plaintiffs

allege that KFF “solicit[s] funds in this metropolitan area and all over America to support the

Israeli army and belligerent settlers engaging in theft of private property to ensure settlement

expansion.” Am. Compl., ¶ 22(ii). That conclusory statement is the only basis offered for this

Court's jurisdiction over KFF.12 It does not suffice.



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   Plaintiffs also assert that this Court may exercise jurisdiction on a "conspiracy theory" of personal jurisdiction.
See Am. Compl., ¶ 21 (citing Second Amendment Found. v. United States Conf. of Mayors, 274 F.3d 521 (D.C.
2001)). But Plaintiffs' argument is circular – jurisdiction cannot be established over conspiracy and other claims
based merely on their allegation. Rather, the "general rule ... that a plaintiff must make a prima facie showing of the
pertinent jurisdictional facts” applies to conspiracy-based jurisdiction. Second Amendment Found., 274 F.3d at 524
(D.C. Cir. 2001). In other words, "[s]ince the bare allegation of conspiracy or agency is insufficient to establish
personal jurisdiction, a plaintiff must allege specific acts connecting the defendant with the forum.” Id. (internal
citations and quotations omitted). As demonstrated above, Plaintiffs have utterly failed to plausibly allege facts

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VIII. THE ATS AND ATA CLAIMS MUST BOTH BE DISMISSED AS TO CERTAIN
      PLAINTIFFS DEPENDING ON NATIONAL ORIGIN

        Finally, the ATA claims must be dismissed to the extent brought by the foreign

Palestinian plaintiffs. See 18 U.S.C. § 2333(a) (to be eligible for civil relief under the ATA, a

plaintiff must either be a U.S. national or an estate, a survivor, or an heir of a United States

national). Similarly, the ATS claims must be dismissed to the extent brought by the United

States citizen Plaintiffs. See Corrie v. Caterpillar, Inc., 403 F. Supp. 2d 1019, 1026 (W.D.

Wash. 2005), aff’d, 503 F.3d 974 (9th Cir. 2007).

IX.     MULTIPLE DEFENDANTS MUST BE DISMISSED FROM THE CASE BE-
        CAUSE THEY LACK ARTICLE III STANDING

        Article III requires, as an "irreducible minimum," that a plaintiff "must have suffered an

'injury in fact'—an invasion of a legally protected interest which is (a) concrete and

particularized, and (b) 'actual or imminent, not ‘conjectural’ or ‘hypothetical’[.]" Lujan v. Defs.

of Wildlife, 504 U.S. 555, 560 (1992) (internal citations omitted). Regardless of whether this

Court dismisses all claims against all Defendants – which it should, as explained above – twenty-

three plaintiffs13 (the "Art. III Plaintiffs") must be dismissed from this case because they do not

allege any "concrete and particularized" injuries in the Amended Complaint.

        Indeed, the Art. III Plaintiffs do not allege any particular injuries at all. Instead, the

Amended Complaint alleges summarily that "[a]ll of the Plaintiff's [sic] named herein have been

injured by the aforementioned $2 billion money laundering scheme and the illegal criminal

supporting their conspiracy claim. See supra, § 6.A. As such, neither KFF-specific allegations nor the conspiracy
allegations in the Amended Complaint suffice as a basis for personal jurisdiction over KFF.

13
  Susan Abulhawa, Abdur-Rahim Dudar, Linda Mansour, Muhammad Jihad Muhammad Al-Qara, Muhammad
Suleiman Mahmoud Baraka, Saad Malley, Sami Shawqi Ahmed Madi, Tagrid Eleyan Mahmoud Abu-Teer, Waddah
Khalid Sofan, Wala'a Jihad Muhammad Al-Qara, Zeinab Safwat Abd Abu-Teer, A'id Mahnmoud Ahmed Al-Bur'I,
Ahmad Kamal Ibrahim Suleiman Abu-Teer, Ahmad Suleiman Mahmoud Sahmour, Ahmed Abdullah Muhammad
Abu-Salah, Ali Abd Suleiman Abu-Teer, Ashraf Abu-Rahma, Basem Ibrahim Ahmed Abu-Rahmeh, Hanafi
Mahmoud Kamel Abu-Yousef, Ibrahim Khalil Suleiman Qablan, Ibrahim Suleiman Qablan Abu-Qablan, Ismail
Mahmoud Muhhamad Abu-Dharifa, Jawad Issa Ibrahim Salamah Al Horoob, Jawaher Ibrahim Abu-Rahmeh


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activity which has been committed in the OPT on a daily basis." Am. Compl., ¶ 37; see also

Am. Compl., ¶ 106 ("As a result of these Defendants participating in this civil conspiracy, the

Plaintiffs and their relatives have been injured . . . "). But collective allegations of this nature do

not suffice for Art. III standing; rather, "each [Plaintiff must] assert a distinct, individual injury."

Akins v. Fed. Election Comm'n, 101 F.3d 731, 737 (D.C. Cir. 1996), vacated on other grounds,

Fed. Election Comm'n v. Akins, 524 U.S. 11 (1998); see also Valley Forge Christian Coll. v.

Americans United for Separation of Church & State, Inc., 454 U.S. 464, 472, (1982) ("Art. III

requires the party who invokes the court's authority to show that he personally has suffered some

actual or threatened injury as a result of the putatively illegal conduct of the defendant[.]");

Lujan, 504 U.S. at 581 ("While it does not matter how many persons have been injured by the

challenged action, the party bringing suit must show that the action injures him in a concrete and

personal way."); Pub. Citizen, Inc. v. Nat'l Highway Traffic Safety Admin., 489 F.3d 1279, 1292

(D.C. Cir. 2007) ("[T]he asserted injury must be particularized—which the [Supreme] Court has

also described as personal, individual, distinct, and differentiated—not generalized or

undifferentiated.").

        In sum, 'injury-in-fact' requires that each individual Plaintiff plead specific facts that

make up their particular injury. The Art. III Plaintiffs have failed to do so, and as such they must

be dismissed from this case.




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                                         CONCLUSION

       For all of the foregoing reasons, defendant Kushner Family Foundation respectfully

requests that this Court dismiss the Amended Complaint as against KFF in its entirety, with

prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6), and grant KFF such

other and further relief as this Court deems just and proper.


New York, New York
Dated: April 18, 2019

                                                      Respectfully submitted,

                                                      /s/ Donald N. David
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                                                      Foundation




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 18, 2019, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system, which will send a notice of electronic filing to all

attorneys of record.

                                                             /s/ Donald N. David
                                                             Donald N. David




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